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                                                                    6 Attorneys for Chapter 7 Trustee
                                                                      Thomas H. Casey
                                                                    7

                                                                    8                         UNITED STATES BANKRUPTCY COURT

                                                                    9                          CENTRAL DISTRICT OF CALIFORNIA

                                                                   10                                   SANTA ANA DIVISION

                                                                   11 In re                                      Case No. 8:17-bk-13482-TA
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 CATHERINE M. HARETAKIS,                    Chapter 7
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13               Debtor.

                                                                   14
                                                                      THOMAS H. CASEY, Solely in his capacity Adv. No. 8:19-ap
                              Tel 714-966-1000




                                                                   15 as Chapter 7 Trustee ,
                                                                                                              COMPLAINT FOR:
                                                                   16              Plaintiff,
                                                                                                              1) AVOIDANCE OF FRAUDULENT
                                                                   17       v.                                   TRANSFER PURSUANT TO 11 U.S.C.
                                                                                                                 § 548(a)(1)(A);
                                                                   18 ROBERT   B. GRANT      AND BETTY L.     2) AVOIDANCE     OF FRAUDULENT
                                                                      LOCKHART-GRANT,                            TRANSFER PURSUANT TO 11 U.S.C.
                                                                   19                                            § 548(a)(1)(B);
                                                                                   Defendants.                3) AVOIDANCE OF FRAUDULENT
                                                                   20                                            TRANSFER PURSUANT TO 11 U.S.C.
                                                                                                                 § 544(b) AND CAL. CIV. CODE
                                                                   21                                            § 3439.04(a)(1);
                                                                                                              4) AVOIDANCE OF FRAUDULENT
                                                                   22                                            TRANSFER PURSUANT TO 11 U.S.C.
                                                                                                                 § 544 AND CAL. CIV. CODE
                                                                   23                                            § 3439.04(a)(2);
                                                                                                              5) AVOIDANCE OF FRAUDULENT
                                                                   24                                            TRANSFER PURSUANT TO 11 U.S.C.
                                                                                                                 § 544 AND CAL. CIV. CODE § 3439.05;
                                                                   25                                            AND
                                                                                                              6) RECOVERY OF FRAUDULENT
                                                                   26                                            TRANSFER PURSUANT TO 11 U.S.C.
                                                                                                                 § 550 AND CAL. CIV. CODE § 3439.07
                                                                   27

                                                                   28
                                                                        1245271.2                               1                               COMPLAINT
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                                                                    1 TO DEFENDANTS AND THEIR COUNSEL, IF ANY:

                                                                    2           Plaintiff, Thomas H. Casey, the duly appointed, qualified and acting Chapter 7

                                                                    3 trustee (“Trustee” or “Plaintiff”) for the bankruptcy estate (“Estate”) of Catherine Haretakis

                                                                    4 (“Debtor”), for his claims for relief against defendants Robert Grant and Betty L. Lockhart-

                                                                    5 Grant (each a “Defendant” and collectively, the “Defendants”), alleges as follows:

                                                                    6                         STATEMENT OF JURISDICTION AND VENUE
                                                                    7           1.    The Bankruptcy Court has jurisdiction over this adversary proceeding

                                                                    8 pursuant to 28 U.S.C. §§ 157(a) and 1334(b) and 11 U.S.C. §§ 323, 544, 548, 550, and

                                                                    9 551, Rule 7001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

                                                                   10 and California Civil Code section 3439 et seq. (the “California Uniform Voidable

                                                                   11 Transactions Act”). This adversary proceeding is a core proceeding pursuant to 28 U.S.C.
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                                                                   12 § 157(b)(2)(A), (H), and (O). Regardless of whether this is a core proceeding, consent is
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                                  Costa Mesa, California 92626




                                                                   13 hereby given to the entry of final orders and judgment by the Court. Defendants are

                                                                   14 hereby notified that Fed. R. Bankr. P. 7008 requires Defendants to plead whether consent
                              Tel 714-966-1000




                                                                   15 is given to the entry of final orders and judgment by the Court.

                                                                   16           2.    Venue properly lies in this judicial district in that the civil proceeding arises

                                                                   17 under title 11 of the United States Code as provided in 28 U.S.C. §§ 1408 and 1409.

                                                                   18           3.    The claims asserted herein arise out of and relate to the bankruptcy case

                                                                   19 entitled In re Catherine M. Haretakis, a chapter 7 case bearing Case No. 8:17-bk-13482-

                                                                   20 TA (“Bankruptcy Case”), currently pending in the United States Bankruptcy Court, Central

                                                                   21 District of California, Santa Ana Division (the “Bankruptcy Court”) the Honorable Theodor

                                                                   22 C. Albert presiding.

                                                                   23                                    PARTIES TO THE ACTION
                                                                   24           4.    Plaintiff is the duly-appointed, qualified, and acting chapter 7 trustee of the

                                                                   25 Bankruptcy Estate.

                                                                   26           5.    Plaintiff is informed, believes, and alleges that Defendants Robert B. Grant

                                                                   27 and Betty L. Lockhart-Grant (collectively “Grants”) are individuals residing in Orange

                                                                   28 County, California.
                                                                        1245271.2                                      2                                      COMPLAINT
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                                                                    1                                  STATEMENT OF STANDING
                                                                    2           6.    Debtor filed her chapter 11 bankruptcy petition on August 30, 2017 (“Petition

                                                                    3 Date”). Upon the Debtor’s motion, the case was converted to one under chapter 7 of the

                                                                    4 Bankruptcy Code on November 28, 2018.

                                                                    5           7.    The Trustee was subsequently appointed as the duly qualified and acting

                                                                    6 chapter 7 trustee of the Estate on December 14, 2018.

                                                                    7           8.    Plaintiff has standing to bring this action pursuant to 11 U.S.C. §§ 323, 544,

                                                                    8 548, 550, and 551.

                                                                    9                                   GENERAL ALLEGATIONS
                                                                   10           9.    Plaintiff incorporates each and every allegation contained in paragraphs 1

                                                                   11 through 8, as though fully set forth herein.
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                                                                   12           10.   Plaintiff is informed, believes, and alleges that on September 13, 2017, the
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                                                                   13 Debtor filed her bankruptcy schedules and statement of financial affairs. In Schedule A,

                                                                   14 the Debtor listed an interest in the real property located at 2665 Orange Vale Lane,
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                                                                   15 Riverside, California (“Riverside Property”).

                                                                   16           11.   Plaintiff is informed, believes, and alleges that in or about June 2006, the

                                                                   17 Debtor and her now-deceased husband (“Mr. and Mrs. Haretakis”) borrowed $500,000

                                                                   18 (the “Loan”) from Pacific Western Bank (“PWB”). Plaintiff is further informed, believes,

                                                                   19 and alleges that Mr. and Mrs. Haretakis defaulted on the Loan on or about November

                                                                   20 2010 and did not cure their defaults.

                                                                   21           12.   Plaintiff is informed, believes, and alleges that on or about May 27, 2011,

                                                                   22 PWB filed a complaint against Mr. and Mrs. Haretakis for Breach of Promissory Note and

                                                                   23 Common Count in Orange County Superior Court, Case No. 30-2011-00478997. Plaintiff

                                                                   24 is further informed, believes, and alleges that on or about August 12, 2012, PWB obtained

                                                                   25 a judgment against Mr. and Mrs. Haretakis in the principal amount of $474,593.91.

                                                                   26 Plaintiff is further informed, believes, and alleges that the judgment remains unpaid.

                                                                   27           13.   Plaintiff is informed, believes, and alleges that on or about June 21, 2011,

                                                                   28 Defendant, Robert Grant, a longtime friend and business associate of Mr. and Mrs.
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                                                                    1 Haretakis, who also acted as the accountant for their business, purchased real property

                                                                    2 located at 36575 Calle Puerta Bonita, Temecula, California 92592 (“Temecula Property”).

                                                                    3           14.   Plaintiff is informed, believes, and alleges that concurrently with the

                                                                    4 purchase of the Temecula Property, a Deed of Trust securing a loan in the amount of

                                                                    5 $480,000 in Defendant’s name was recorded against the Temecula Property.

                                                                    6           15.   Plaintiff is informed, believes, and alleges that Mr. and Mrs. Haretakis paid

                                                                    7 Defendants $140,000 toward the purchase of the Temecula Property and reimbursed

                                                                    8 Defendants, on a monthly basis, for mortgage, insurance and tax payments he made

                                                                    9 relating to the Temecula Property.

                                                                   10           16.   Plaintiff is informed, believes, and alleges that on or about July 5, 2011, a

                                                                   11 Grant Deed conveying the Temecula Property from Robert Grant to “Robert B. Grant and
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                                                                   12 Betty L. Grant, Husband and Wife as Community Property with Right of Survivorship” was
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                                                                   13 recorded.

                                                                   14           17.   Plaintiff is informed, believes, and alleges that Defendants received no
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                                                                   15 return for the transaction with Mr. and Mrs. Haretakis.

                                                                   16           18.   Plaintiff is informed, believes, and alleges that Defendants and Mr. and Mrs.

                                                                   17 Haretakis entered into a Funding Agreement and Installment Land Sale Agreement with

                                                                   18 respect to the Temecula Property that was never recorded.

                                                                   19           19.   Plaintiff is informed, believes, and alleges that from June 2011 until

                                                                   20 September 2016, Mr. and Mrs. Haretakis were the true owners of the Temecula Property.

                                                                   21 The Debtor also testified that the Temecula Property was titled in the name of Defendants

                                                                   22 in order to obtain financing in connection with its acquisition.

                                                                   23           20.   Plaintiff is informed, believes, and alleges that on or about October 5, 2012,

                                                                   24 PWB recorded an Abstract of Judgment in the Official Records of the County of Riverside

                                                                   25 Assessor, County Clerk and Recorder as Instrument No. 2012-0477482. Plaintiff is

                                                                   26 further informed, believes, and alleges that PWB recorded an Amended Abstract of

                                                                   27 Judgment on or about December 4, 2012 as Instrument No. 2012-0586389. Because the

                                                                   28
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                                                                    1 Temecula Property was in Defendants’ names, PWB’s abstracts did not reflect on title

                                                                    2 records.

                                                                    3           21.   Plaintiff is informed, believes, and alleges that on or about May 2, 2016,

                                                                    4 Defendants recorded a Quitclaim Deed transferring the Temecula Property to Matthew

                                                                    5 Haretakis (“Matthew”), the son of Mr. and Mrs. Haretakis. The Quitclaim Deed included a

                                                                    6 notation “*No transfer tax due. This conveyance is upon satisfaction of a debt is a

                                                                    7 reconveyance of a mere security interest only to Grantee R&T § 11921.” Plaintiff is further

                                                                    8 informed, believes, and alleges that Matthew owed no debt to Defendants, and the

                                                                    9 transfer to Matthew was done pursuant to request of Mr. and Mrs. Haretakis.

                                                                   10           22.   Plaintiff is informed, believes, and alleges that the Debtor continued to live at

                                                                   11 the Temecula Property until it was sold in September 2016.
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                                                                   12           23.   Plaintiff is informed, believes, and alleges that the Temecula Property was
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                                                                   13 sold for $1,040,000 and there was a net distribution to Matthew of approximately

                                                                   14 $520,000.
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                                                                   15           24.   Plaintiff is informed, believes, and alleges that of the proceeds of sale of the

                                                                   16 Temecula Property, $211,500 was used to fund a down payment for the purchase of the

                                                                   17 Riverside Property, which was purchased in Matthew’s name.

                                                                   18           25.   Plaintiff is informed, believes, and alleges that the sale proceeds were also

                                                                   19 used for various other purposes, and the remaining balance of approximately $113,000

                                                                   20 was paid by Matthew to the Debtor and deposited in the Debtor’s DIP account after the

                                                                   21 Petition Date. Those funds have been turned over to Plaintiff.

                                                                   22           26.   Plaintiff is informed, believes, and alleges that one day prior to the Petition

                                                                   23 Date, Matthew transferred the Riverside Property to the Debtor.

                                                                   24           27.   Plaintiff abandoned the Riverside Property by order entered on May 9, 2019.

                                                                   25           28.   Plaintiff is informed, believes, and alleges that the Debtor had resided in the

                                                                   26 Riverside Property since its purchase and as with the Temecula Property testified that she

                                                                   27 was always the true owner of the Riverside Property and had paid mortgage, insurance

                                                                   28 and tax payments relating to the Riverside Property.
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                                                                    1           29.   Plaintiff is informed, believes, and alleges that on or about March 5, 2018, a

                                                                    2 PWB filed a verified complaint against the Grants and Matthew alleging fraudulent transfer

                                                                    3 claims pursuant to California Civil Code §§ 3439.04 and 3439.05, conspiracy to

                                                                    4 fraudulently transfer property, and conversion, with the Orange County Superior Court,

                                                                    5 Case No. 30-2018-00977446-CU-OR-CJC.

                                                                    6                                   FIRST CLAIM FOR RELIEF
                                                                    7           (Avoidance of Fraudulent Transfer Pursuant to 11 U.S.C. § 548(a)(1)(A))
                                                                    8           30.   Plaintiff incorporates each and every allegation contained in paragraphs 1

                                                                    9 through 29, inclusive, as though fully set forth herein.

                                                                   10           31.   Plaintiff is informed, believes, and alleges that as the true owner of the

                                                                   11 Temecula Property, the acquisition and transfer of the Temecula Property by Defendants
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                                                                   12 to Matthew was a transfer of an interest of the Debtor.
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                                                                   13           32.   Plaintiff is informed, believes, and alleges that the transfer of the Temecula

                                                                   14 Property to Matthew was within 2 years before the Petition Date. The transfer from
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                                                                   15 Defendants to Matthew was on or about May 2, 2016 and the Petition Date is August 30,

                                                                   16 2017.

                                                                   17           33.   Plaintiff is informed, believes, and alleges that the Transfer was made with

                                                                   18 the actual intent to hinder, delay, or defraud Debtor’s creditors, including PWB. By

                                                                   19 acquiring the Temecula Property in Defendants’ name and transferring the Temecula

                                                                   20 Property to Matthew, the Temecula Property was protected from claims of creditors and

                                                                   21 avoided paying PWB’s judgment as its amended abstract of judgment was not reflected

                                                                   22 on any title reports.

                                                                   23           34.   Plaintiff is informed, believes, and alleges that creditors existed at the time of

                                                                   24 the transfer of the Temecula Property to Matthew that remain unpaid as of the Petition

                                                                   25 Date, including PWB.

                                                                   26           35.   By reason of the foregoing, the transfer from Defendants to Matthew is

                                                                   27 avoidable under 11 U.S.C. § 548(a)(1)(A).

                                                                   28
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                                                                    1                                  SECOND CLAIM FOR RELIEF
                                                                    2           (Avoidance of Fraudulent Transfer Pursuant to 11 U.S.C. § 548(a)(1)(B))
                                                                    3           36.   Plaintiff incorporates each and every allegation contained in paragraphs 1

                                                                    4 through 35, inclusive, as though fully set forth herein.

                                                                    5           37.   Plaintiff is informed, believes, and alleges that as the true owner of the

                                                                    6 Temecula Property, the acquisition and transfer of the Temecula Property by Defendants

                                                                    7 to Matthew was a transfer of an interest of the Debtor.

                                                                    8           38.   Plaintiff is informed, believes, and alleges that the transfer of the Temecula

                                                                    9 Property to Matthew was within 2 years before the Petition Date. The transfer from

                                                                   10 Defendants to Matthew was on or about May 2, 2016 and the Petition Date is August 30,

                                                                   11 2017.
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                                                                   12           39.   Plaintiff is informed, believes, and alleges that Defendants did not receive
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                                                                   13 reasonably equivalent value for the transfer of the Temecula Property. Defendants

                                                                   14 received no return for the transaction with Mr. and Mrs. Haretakis or Matthew. Mr. and
                              Tel 714-966-1000




                                                                   15 Mrs. Haretakis paid all expenses related to the Temecula Property, no money was paid to

                                                                   16 Defendants when the Temecula Property was transferred to Matthew, and there was no

                                                                   17 extinguishment of a monetary obligation owed by Matthew or Mr. and Mrs. Haretakis to

                                                                   18 Defendants at the time of the transfer.

                                                                   19           40.   Plaintiff is informed, believes, and alleges that at the time of the transfer, it

                                                                   20 was believed that the Debtor would incur debts that would be beyond the Debtor’s ability

                                                                   21 to pay as the debts matured.

                                                                   22           41.   Plaintiff is informed, believes, and alleges that Defendants did not make the

                                                                   23 transfer of the Temecula Property in good faith and Matthew did not take the Temecula

                                                                   24 Property in good faith.

                                                                   25           42.   By reason of the foregoing, the transfer from Defendants to Matthew is

                                                                   26 avoidable under 11 U.S.C. § 548(a)(1)(B).

                                                                   27

                                                                   28
                                                                        1245271.2                                      7                                     COMPLAINT
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                                                                    1                                     THIRD CLAIM FOR RELIEF
                                                                    2                 (Avoidance of Fraudulent Transfer Pursuant to 11 U.S.C. § 544
                                                                    3                               and Cal. Civ. Code § 3439.04(a)(1))
                                                                    4           43.    Plaintiff incorporates each and every allegation contained in paragraphs 1

                                                                    5 through 42, inclusive, as though fully set forth herein.

                                                                    6           44.    Plaintiff is informed, believes, and alleges that as the true owner of the

                                                                    7 Temecula Property, the acquisition and transfer of the Temecula Property by Defendants

                                                                    8 to Matthew was a transfer made by the Debtor.

                                                                    9           45.    Plaintiff is informed, believes, and alleges that at the time the Temecula

                                                                   10 Property was acquired and when it was transferred to Matthew, PWB held a claim against

                                                                   11 Mr. and Mrs. Haretakis.
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                                                                   12           46.    Plaintiff is informed, believes, and alleges that the Transfer was made with
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                                                                   13 the actual intent to hinder, delay, or defraud Debtor’s creditors, including PWB. By

                                                                   14 acquiring the Temecula Property in Defendants’ name and transferring the Temecula
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                                                                   15 Property to Matthew, the Temecula Property was protected from claims of creditors and

                                                                   16 avoided paying PWB’s judgment as its amended abstract of judgment was not reflected

                                                                   17 on any title reports.

                                                                   18           47.    As to actual intent, the following factors should apply:

                                                                   19                  a.     Defendants were personal friends with Mr. and Mrs. Haretakis and

                                                                   20                         Defendant Robert Grant acted as an accountant for Mr. and Mrs.

                                                                   21                         Haretakis’ business;

                                                                   22                  b.     Matthew is the son of Mr. and Mrs. Haretakis;

                                                                   23                  c.     From the time the Temecula Property was acquired, Mr. and Mrs.

                                                                   24                         Haretakis held themselves out to be the true owners of the Temecula

                                                                   25                         Property;

                                                                   26                  d.     Defendants were aware that PWB was owed money;

                                                                   27                  e.     By the time of the transfer of the Temecula Property to Matthew, PWB

                                                                   28                         held a judgment and had recorded an abstract of judgment;
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                                                                    1                  f.     Defendants received no consideration for acquiring the Temecula

                                                                    2                         Property or transferring the Temecula Property to Matthew.

                                                                    3           48.    Based upon the foregoing, the transfer from Defendants to Matthew is

                                                                    4 avoidable under 11 U.S.C. § 544 and Cal. Civ. Code § 3439.04(a)(1).

                                                                    5                                   FOURTH CLAIM FOR RELIEF
                                                                    6                 (Avoidance of Fraudulent Transfer Pursuant to 11 U.S.C. § 544
                                                                    7                                and Cal. Civ. Code § 3439.04(a)(2))
                                                                    8           49.    Plaintiff incorporates each and every allegation contained in paragraphs 1

                                                                    9 through 48, inclusive, as though fully set forth herein.

                                                                   10           50.    Plaintiff is informed, believes, and alleges that as the true owner of the

                                                                   11 Temecula Property, the acquisition and transfer of the Temecula Property by Defendants
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                                                                   12 to Matthew was a transfer made by the Debtor.
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                                                                   13           51.    Plaintiff is informed, believes, and alleges that Defendants did not receive

                                                                   14 reasonably equivalent value for the transfer of the Temecula Property. Defendants
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                                                                   15 received no return for the transaction with Mr. and Mrs. Haretakis or Matthew. Mr. and

                                                                   16 Mrs. Haretakis paid all expenses related to the Temecula Property, no money was paid to

                                                                   17 Defendants when the Temecula Property was transferred to Matthew, and there was no

                                                                   18 extinguishment of a monetary obligation owed by Matthew or Mr. and Mrs. Haretakis to

                                                                   19 Defendants at the time of the transfer.

                                                                   20           52.    Plaintiff is informed, believes, and alleges that at the time of the transfer, it

                                                                   21 was believed that the Debtor would incur debts that would be beyond the Debtor’s ability

                                                                   22 to pay as the debts matured.

                                                                   23           53.    Based upon the foregoing, the transfer from Defendants to Matthew is

                                                                   24 avoidable under 11 U.S.C. § 544 and Cal. Civ. Code § 3439.04(a)(2).

                                                                   25 ///

                                                                   26 ///

                                                                   27 ///

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                                                                        1245271.2                                       9                                     COMPLAINT
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                                                                    1                                    FIFTH CLAIM FOR RELIEF
                                                                    2                 (Avoidance of Fraudulent Transfer Pursuant to 11 U.S.C. § 544
                                                                    3                                  and Cal. Civ. Code § 3439.05)
                                                                    4           54.    Plaintiff incorporates each and every allegation contained in paragraphs 1

                                                                    5 through 53, inclusive, as though fully set forth herein.

                                                                    6           55.    Plaintiff is informed, believes, and alleges that Defendants did not receive

                                                                    7 reasonably equivalent value for the transfer of the Temecula Property. Defendants

                                                                    8 received no return for the transaction with Mr. and Mrs. Haretakis or Matthew. Mr. and

                                                                    9 Mrs. Haretakis paid all expenses related to the Temecula Property, no money was paid to

                                                                   10 Defendants when the Temecula Property was transferred to Matthew, and there was no

                                                                   11 extinguishment of a monetary obligation owed by Matthew or Mr. and Mrs. Haretakis to
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                                                                   12 Defendants at the time of the transfer.
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                                                                   13           56.    Plaintiff is informed, believes, and alleges that PWB’s claim arose before the

                                                                   14 transfer was made.
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                                                                   15           57.    Plaintiff is informed, believes, and alleges that Mr. and Mrs. Haretakis were

                                                                   16 insolvent at the time of, or rendered insolvent by, the transfer of the Temecula Property.

                                                                   17           58.    Based upon the foregoing, the transfer from Defendants to Matthew is

                                                                   18 avoidable under 11 U.S.C. § 544 and Cal. Civ. Code § 3439.05.

                                                                   19                                    SIXTH CLAIM FOR RELIEF
                                                                   20                  (Recovery of Avoided Transfers Pursuant to 11 U.S.C. § 550
                                                                   21                                  and Cal. Civ. Code § 3439.07)
                                                                   22           59.    Plaintiff incorporates each and every allegation contained in paragraphs 1

                                                                   23 through 58, inclusive, as though fully set forth herein.

                                                                   24           60.    Plaintiff is entitled to avoid the transfer of the Temecula Property pursuant to

                                                                   25 11 U.S.C. §§ 548(a)(1)(A) and 548(a)(1)(B) and Cal. Civ. Code §§ 3439.04(a)(1),

                                                                   26 3439.04(a)(2), and 3439.05.

                                                                   27           61.    Plaintiff is entitled to recover from Defendants the value of the Temecula

                                                                   28 Property or such other amounts as to be proven at trial.
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                                                                    1           WHEREFORE, the Plaintiff requests that this Court enter a judgment in favor of
                                                                    2 Plaintiff and against Defendants as follows:

                                                                    3                                  On the First Claim for Relief
                                                                    4           1.    Avoiding the fraudulent transfer and declaring that the fraudulent transfer be

                                                                    5 annulled and rendered void as a fraudulent transfer and for recovery of the value of the

                                                                    6 Transfer for the benefit of the Estate, and/or

                                                                    7           2.    Awarding the Plaintiff a money judgment against the Defendants in the

                                                                    8 amount of the fraudulent transfer.

                                                                    9                                On the Second Claim for Relief
                                                                   10           3.    Avoiding the fraudulent transfer and declaring that the fraudulent transfer be

                                                                   11 annulled and rendered void as a fraudulent transfer and for recovery of the value of the
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                                                Fax 714-966-1002




                                                                   12 Transfer for the benefit of the Estate, and/or
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                                                                   13           4.    Awarding the Plaintiff a money judgment against the Defendants in the

                                                                   14 amount of the fraudulent transfer.
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                                                                   15                                 On the Third Claim for Relief
                                                                   16           5.    Avoiding the fraudulent transfer and declaring that the fraudulent transfer be

                                                                   17 annulled and rendered void as a fraudulent transfer and for recovery of the value of the

                                                                   18 Transfer for the benefit of the Estate, and/or

                                                                   19           6.    Awarding the Plaintiff a money judgment against the Defendants in the

                                                                   20 amount of the fraudulent transfer.

                                                                   21                                On the Fourth Claim for Relief
                                                                   22           7.    Avoiding the fraudulent transfer and declaring that the fraudulent transfer be

                                                                   23 annulled and rendered void as a fraudulent transfer and for recovery of the value of the

                                                                   24 Transfer for the benefit of the Estate, and/or

                                                                   25           8.    Awarding the Plaintiff a money judgment against the Defendants in the

                                                                   26 amount of the fraudulent transfer.

                                                                   27

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                                                                        1245271.2                                      11                                COMPLAINT
                                                                   Case 8:19-ap-01225-TA       Doc 1 Filed 11/27/19 Entered 11/27/19 13:57:54           Desc
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                                                                    1                                  On the Fifth Claim for Relief
                                                                    2           9.    Avoiding the fraudulent transfer and declaring that the fraudulent transfer be

                                                                    3 annulled and rendered void as a fraudulent transfer and for recovery of the value of the

                                                                    4 Transfer for the benefit of the Estate, and/or

                                                                    5           10.   Awarding the Plaintiff a money judgment against the Defendants in the

                                                                    6 amount of the fraudulent transfer.

                                                                    7                                 On the Sixth Claim for Relief
                                                                    8           11.   Awarding the Plaintiff a money judgment against the Defendants in the

                                                                    9 amount of the fraudulent transfer.

                                                                   10                                    On all Claims for Relief
                                                                   11           12.   For such other and further relief as this Court may deem just and proper.
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13                                            Respectfully submitted,

                                                                   14 Dated: November 27, 2019                   WEILAND GOLDEN GOODRICH LLP
                              Tel 714-966-1000




                                                                   15

                                                                   16                                            By: /s/ Beth E. Gaschen
                                                                                                                     BETH E. GASCHEN
                                                                   17                                                Counsel for Chapter 7 Trustee,
                                                                                                                     Thomas H. Casey
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                                                                        1245271.2                                      12                                COMPLAINT
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
 Thomas H. Casey, Solely in his                                                  Robert B. Grant and Betty L. Grant,
 capacity as Chapter 7 Trustee,

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Weiland Golden Goodrich LLP
650 Town Center Dr., Ste. 600, Costa Mesa, CA 92626
(714) 966-1000
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
          Trustee/Bankruptcy Admin        Debtor      U.S. Trustee/Bankruptcy Admin
                                      Creditor    
                                                                  X Other


X                                             Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Avoidance of Fraudulent Transfer pursuant to 11 U.S.C. Sections 548(a)(1) (A), (a)(1)(A), 544(b) and Cal. Civ. Code
Sections 3439.04(a)(1)& (2), 343905, Recovery of Fraudulent Transfer Pursuant to Section 550 & Cal. Civ.
Code 3439.07


                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
 11-Recovery of money/property - §542 turnover of property                       61-Dischargeability - §523(a)(5), domestic support
 12-Recovery of money/property - §547 preference                                 68-Dischargeability - §523(a)(6), willful and malicious injury
1 13-Recovery of money/property - §548 fraudulent transfer                       63-Dischargeability - §523(a)(8), student loan
2 14-Recovery of money/property - other                                          64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
 21-Validity, priority or extent of lien or other interest in property           65-Dischargeability - other

                                                                                FRBP 7001(7) – Injunctive Relief


    FRBP 7001(3) – Approval of Sale of Property                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                  72-Injunctive relief – other

    FRBP 7001(4) – Objection/Revocation of Discharge
 41-Objection / revocation of discharge - §727(c),(d),(e)                      FRBP 7001(8) Subordination of Claim or Interest
                                                                                 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                              
 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause

      actual fraud                                                            Other
 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny  SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                   (continued next column)                                     02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
Check if this case involves a substantive issue of state law                  Check if this is asserted to be a class action under FRCP 23
  trial is demanded in complaint                                Demand $
Other Relief Sought
       Case 8:19-ap-01225-TA               Doc 1 Filed 11/27/19 Entered 11/27/19 13:57:54                              Desc
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
CATHERINE M. HARETAKIS                                                 8:17-bk-13482-TA
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                    NAME OF JUDGE
  Central                                                              Santa Ana                        Hon. Theodor C. Albert
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

        /s/ Beth E. Gaschen



DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

 November 27, 2019                                                       Beth E. Gaschen



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 600
                                               Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): Complaint for: 1) Avoidance of Fraudulent Transfer
Pursuant to 11 U.S.C. § 548(a)(1)(A); 2) Avoidance of Fraudulent Transfer Pursuant to 11 U.S.C. § 548(a)(1)(B); 3)
Avoidance of Fraudulent Transfer Pursuant to 11 U.S.C. § 544(b) and Cal. Civ. Code § 3439.04(a)(1); 4) Avoidance of
Fraudulent Transfer Pursuant to 11 U.S.C. § 544 and Cal. Civ. Code § 3439.04(a)(2); 5) Avoidance of Fraudulent Transfer
Pursuant to 11 U.S.C. § 544 and Cal. Civ. Code § 3439.05; and 6) Recovery of Fraudulent Transfer Pursuant to 11 U.S.C.
§ 550 and Cal. Civ. Code § 3439.07
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 27, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) November 27, 2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 27, 2019, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Served by Personal Delivery
Honorable Theodor C. Albert
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5085 / Courtroom 5B
Santa Ana, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 11/27/2019                     Victoria Rosales
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Andrew K Alper aalper@frandzel.com, rsantamaria@frandzel.com
Thomas H Casey (TR) msilva@tomcaseylaw.com, thc@trustesolutions.net
Beth Gaschen bgaschen@wgllp.com,
kadele@wgllp.com;vrosales@wgllp.com;cbmeeker@gmail.com;cyoshonis@wgllp.com
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Donald W Sieveke ibmoola@yahoo.com, dws4law@pacbell.net
Edward A Treder cdcaecf@bdfgroup.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
